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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE


                              In Re: Frederick Eichhorn
                                Case No. 12-13476-BAH
                                           Chapter 13
                                             Debtor
                                                              2018 HAY-2 AMI0S28
                                                                   CLERK OF THE
                      TRUSTEE'S AFFIDAVIT OF UNCUIMED FINRRRUPTCY C&ffiT
                                                                   DISTRICT SF NH
           I, LAWRENCE P. SUMSKI, Chapter 13 Trustee, being duly

     sworn, do solemnly swear on my oath and say:

           1.    That certain disbursements authorized by the Court
     have been unable to be consummated in the above-cited
     Chapter 13 case, and the case is otherwise ready to be
     closed.


           2.    That pursuant to § 347(a) and Rule 3011 I have now
     cancelled a disbursement check, to wit:

           Check #216750
           Issued on: 12/20/2017
           Issued to: Frederick Eichhorn
                      108 Oakcrest Lane
                     Gilmanton, NH 03237
           In the amount of $915.73

          3. That the original, now cancelled check was sent to
     the debtor via his attorney, Kevin Chisholm at 195 Elm
     Street, Manchester, NH 03101 with a copy of the
     correspondence being sent contemporaneously to the debtor at
     the address listed above.


          4. That attached is my replacement check number 219593
     in the amount of $915.73, payable to the Clerk of Court, and
     these should be considered unclaimed funds.


          I hereby certify the above-cited information to be true
     to the best of my knowledge.

                                                         ectfu^y-submi

     Dated:     April 30, 2018
                                                      Lawrence P. Sumski,
                                                      Chapter 13 Trustee
                                                      1000 Elm Street
                                                      Suite 1002
                                                      Manchester, NH     03101
                                                      (603) 626-8899
                                                      ID# BNH01460
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           On this the 30^^ day of April, 2018 before me,
     personally appeared Lawrence P. Sumski satisfactorily proven
     to be the person whose name is subscribed to the within
     instrument and acknowledged that he executed the same
     voluntarily and for the purposes therein contained.

                                   Before me,

                                            mOo
                                      'ary Public
                                                               I:                 I



                            CERTIFICATE OF SERVICE


          I hereby certify that on this, the 30^^ day of April,
     2018, a copy of the foregoing Affidavit of Unclaimed Funds
     was forwarded, by first class mail to Frederick Eichhorn at
     108 Oakcrest Lane, Gilmanton, NH         03237, Debtor's Attorney,
     and the Office of the U.S. Trustee.


     Dated:   April 30, 2018              /s/ Lawrence P. Sumskj
                                          Lawrence P. Sumski
                                                                          i/
